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                           EXHIBIT C


                         Show Cause Order
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                                                                                                      ORDER        421277
DOCKET NO: UWYCV186046436S                                          SUPERIOR COURT

LAFFERTY, ERICA Et Al                                               JUDICIAL DISTRICT OF WATERBURY
  V.                                                                  AT WATERBURY
JONES, ALEX EMRIC Et Al
                                                                    8/11/2022



                                                         ORDER



The following order is entered in the above matter:

ORDER:

The initial show cause hearing for Attorney Andino Reynal, juris number 443753 , will take place on the
record as scheduled on Wednesday, August 17, 2022, at 10:00 a.m. but will be conducted remotely. The
evidentiary show cause hearing for Attorney Norman Pattis, juris number 408681,will follow at 10:30
a.m., and will be conducted in person.

Judicial Notice (JDNO) was sent regarding this order.

                                                              421277

                                                              Judge: BARBARA N BELLIS
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court E-Services
Procedures and Technical Standards (https://jud.ct.gov/external/super/E-Services/e-standards.pdf), section 51-193c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




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